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                    IN THE UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF ARKANSAS
                             WESTERN DIVISION

GLOBAL RISK INTERMEDIARY, LLC                                                   PLAINTIFF

v.                                No. 4:13CV00133 JLH

AETNA GLOBAL BENEFITS LIMITED;
AETNA LIFE INSURANCE COMPANY; and
AETNA LIFE & CASUALTY (BERMUDA), LTD.                                       DEFENDANTS

                                ORDER OF DISMISSAL

      Pursuant to the unopposed motion filed by the plaintiff, this action is dismissed with

prejudice. Document #37.

      IT IS SO ORDERED this 27th day of June, 2014.




                                                J. LEON HOLMES
                                                UNITED STATES DISTRICT JUDGE
